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Attorneys for Defendant Joseph Delia


                    IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF ALASKA

   RAYMOND C. GIVENS,                      )
                                           )
               Plaintiff,                  )
                                           )
       v.                                  )
                                           )
   JOSEPH DELIA,                           )
                                           )
               Defendant.                  ) Case No. 3:23-cv-00121-HRH
                                           )

            JOINT NOTICE REGARDING SUBJECTS OF DISCOVERY

       Defendant Joseph Delia and Plaintiff Raymond C. Givens hereby provide notice of

the parties’ anticipated subjects of discovery pursuant to this Court’s Scheduling and

Planning Order, Docket No. 75 at 3. The parties have identified the following subjects of

discovery as of the date of this notice:




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      Discovery by Defendant:

      A.       The terms of the purported Contingency Fee Contract.

      B.       Whether the Plaintiff’s claims were or could have been raised in prior

               proceedings.

      C.       Whether the Plaintiff provided the services required under the purported

               Contingency Fee Contract.

      D.       Whether the Defendant materially breached the purported Contingency Fee

               Contract.

      E.       Whether the Plaintiff mitigated his damages, if any.

      F.       Whether the Plaintiff breached his ethical and professional responsibilities to

               the Defendant.

      G.       Whether the United States approved the purported Contingency Fee

               Contract.

      H.       Whether the Plaintiff caused the Defendant to enter into the Contingency Fee

               Contract as a result of coercion, undue influence, or duress.

      I.       Whether the Defendant is entitled to a setoff or offset against the claims

               asserted by the Plaintiff.

      J.       The extent, measure, and nature of damages claimed by the Plaintiff.

      Discovery by Plaintiff:

               Plaintiff anticipates taking the deposition of Defendant and requesting the

               production of documents relevant to his defenses in this action.

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      Respectfully submitted.

      DATED: July 31, 2024             LANDYE BENNETT BLUMSTEIN LLP

                                       /s/ Andrew Erickson
                                       ______________________________________
                                       Matt Mead, Alaska Bar No. 0711095
                                       Andrew Erickson, Alaska Bar No. 1605049

                                       Attorneys for Defendant Joseph Delia


      DATED: July 31, 2024             WINNER & ASSOCIATES, P.C.

                                       /s/ Russell L. Winner
                                       ______________________________________
                                       Russell L. Winner, Alaska Bar No. 7811149

                                       Attorney for Plaintiff Raymond C. Givens




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                           CERTIFICATE OF SERVICE

      I hereby certify that on July 31, 2024, a copy of the foregoing was served by

electronic means on all counsel of record by the Court’s CM/ECF system.



                                       s/ Andrew Erickson
                                       ________________________
                                       Andrew Erickson




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